

Braun v Cesareo (2019 NY Slip Op 01958)





Braun v Cesareo


2019 NY Slip Op 01958


Decided on March 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, CURRAN, AND WINSLOW, JJ.


935 CA 16-01658

[*1]TRAVIS M. BRAUN, PLAINTIFF-RESPONDENT,
vCHRISTOPHER J. CESAREO, MEDTRONIC, INC., AND MEDTRONIC USA, INC., DEFENDANTS-APPELLANTS. (APPEAL NO. 2.) 






GREENBERG TRAURIG LLP, NEW YORK CITY (NOAH A. LEVINE OF COUNSEL), AND WOODS OVIATT GILMAN LLP, ROCHESTER, FOR DEFENDANTS-APPELLANTS. 
FARACI LANGE, LLP, ROCHESTER (STEPHEN G. SCHWARZ OF COUNSEL), AND MICHAEL G. COOPER, HAMBURG, FOR PLAINTIFF-RESPONDENT. 


	Appeal from an amended order of the Supreme Court, Erie County (Catherine R. Nugent Panepinto, J.), entered December 4, 2015. The amended order adjudged, among other things, that defendant Christopher J. Cesareo was 50% liable for the accident, and that defendant Medtronic, Inc. is vicariously liable for the conduct of defendant Christopher J. Cesareo. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: March 15, 2019
Mark W. Bennett
Clerk of the Court








